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TNW Harris, Dclc)is
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2;05-020250-001-ml --» _`_.._..B.€.
7. tN cAstem,\'rTi:R or rcast~mt) s. PA\'MENTC,\TEGQRY 9. 't'YPi: reason REPRESENTED 10. R(ts~;t> tier "A}‘ N 'r\'PE ‘/
- ?l‘ ll_§ lS
U.S. v. Harrts Felony Adult Dcfenclant Crtmtn 25 AH 7; ha

 

 

 

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lZ. ,\TTORNEY'S NAME {Firsl Nam ‘M.I., L lNan\e.ine|ud' _ l`l' ] ll COURT ORDER ' ' m
{\ND MAIL|NG ADDRESS e as ing lnvsu ix §§ 0 Appo'mting€“unsel [:] C Co-Counsel W/D OF TN MEMP'BS T
FLOYD, MICHAEL, [:] F Subs For Federat Defentler m R Suhs Fnr R:tained »\ltorney "
2129 WINCHES"I`ER RD m P Subs Fnr PanelAtIc>rney l:l \’ Stllldbndnnsel
MEMPH[S TN 381 16 Prior Attnrney‘s Name:

 

 

Appointment Dale:
MBetattse the above-named person represented hastestil'ted underoalh or has
therwlse satisfied this court that he or shell] is l`mancially unable |u employ ctamscl and
Tt-le;ihmie Numher; (90]) 34 5"8009 ll} does not wish to waive counse|, and because lhe interests nl'jusliee su require. the

attorney whose na e appears in llem ll is appointed to represe lt person in this cast',
14. NAME AND MAILING ADDRESS OF LAW FlRM (nnly provide perinslruclinns) `

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teer or Hy Order ulthe Clturt

 

    

Signature nl' l’reslding Ju iclt\l

 

 

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Date ol'Order Nun¢ !Fro Tunc Dute
Repayment or partial repayment ordered l'rorn the person represented for this service al
time of appointmenl. m YES [:l N()

 

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IS. a. Arraignment and/or Plea
b. Bail and Detentlon Hearings
c. Motinn Hearings
‘n d. Triat
C e. Sentencing Henrings
3 l'. Revocation Hcarlngs
tr g. Appeals Court
h. Other (Specll'y on additlonal sheets)
(Rate per hour v 5 ) TOTALS:
16. a. lnterviews and Cont`erences
sli) b. Obtaining and reviewing records
o c. Legal research and brief writing
; d. Travel time
3 e. investigative and Other work tsp¢¢iiy nn additional mem
§ (Rate per hour= $ ) TOTALS:
l'.'. Trtl\r'el E`.Xpelt§es {lodging, parking. meals1 mileage, etc.)
ts. Other Expenses tmt-er than expen, transcripts, etc.)

 

 

 

 

 

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19. CERTIFiCA'i‘[ON OF ATTORNEY!PAYEE FC|R THE I’ERIOU O F SERV'ICE

 

 

 

Zl. C.»\SE DISPO SITION

 

 

 

 

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FROM TO lFOTIIER THAN CASE COMPLETI
Zl. Cl./\IM STATUS [] Final payment l:l interim Payrnent Number __________ lj Supplemental Paymenl _
Have you previously applied to the court l'tr compensation lnd.lur remirnburscmenl for this case? |:l YES l:i NO ll' yes, were you paid'.’ l:l YES l:l NO
Other than l'rom thecourl` have you. ortoyour knowledge has anyone elae, received payment (c¢impensation ur anything or vllue] from any other source in connection with this
represetttation'.’ l:l \/ES m NO il'yel,‘¢ive details nn additional sheets.

l swear or affirm the truth ur correctness of the above statements.

 

 

 

     

 

 

 

 

 

 

Signalure of Attnrney: Dale:
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23. IN COURT COMF. 24. OUT OF COURT COMP. 25. TRAVEL EXPE.NSES 26. (]THER EXPENSE.S ll TOTAL AMT. APPR!CF.RT
28. SlG,\`ATURE OF 'l`}lE PRES]D[NG .iUDlClAL. OFF|CER I)ATE lHa. JllDCE! MAG‘ JUDGE ('ODE
29. IN C()URT C`Ol\‘l}’. 30. (]U'l` 0|" (.`OU R'l` CO!\"I P. 31. TRAV]:`.[. EXPENSES 31. OTHER EXP}';NSF.S 3.!. TOTAL AMT. APPRG\`l-ll)
34. SiCNAT\,|RE OF ClllEF JUDGF., COL'RT ()F .-\PP E:'\LS [OR DEI,EGATF.] Payn\ent DATE 343. JUDGE CODE
approved in escess nl`tl'le statutory threshold aniuunt.

 

 

 

 

 

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Michacl G. Floyd

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Honorablc J on McCalla
US DISTRICT COURT

